                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA



UNITED STATES OF AMERICA,

                   Plaintiff,
            v.

FRANCISCO RODRIGUEZ-RINCON,                Case No. 3:25-cr-00025-SLG-MMS

                   Defendant.


 ORDER RE MOTION FOR EXPEDITED CONSIDERATION OF DOCKETS 14
                          AND 15

      Before the Court at Docket 16 is Defendant’s Motion for Expedited

Consideration of Dockets 14 and 15. Upon due consideration, the motion is

DENIED as moot with respect to the motion at Docket 15. Good cause being

shown, IT IS ORDERED that the motion to expedite is GRANTED as to the motion

at Docket 14. Plaintiff shall file its response to the Motion for Immediate Release

from Custody or Dismissal of Indictment by Monday, June 9, 2025. But the Court

observes that Defendant’s filings indicate he was arrested by HSI on May 21,

2025--two weeks ago.       Therefore, Plaintiff may have good cause to seek to

continue the June 10 hearing and seek an extension of time for its response to the

Motion for Immediate Release.

      DATED this 4th day of June, 2025, at Anchorage, Alaska.

                                            /s/ Sharon L. Gleason
                                            UNITED STATES DISTRICT JUDGE
